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                                                                         USDC SDNY
UNITED STATES DISTRICT COURT                                             DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                            ELECTRONICALLY FILED
                                                                         DOC #:
GANGA MANTENA,                                                           DATE FILED: 6/2/16

                      Plaintiff,

         v.                                          13 Civ. 5300 (LGS)

JEH JOHNSON, Secretary, U.S. Department              STIPULATION AND
of Homeland Security; LEON RODRIGUEZ,                ORDER OF DISMISSAL
Director, U.S. Citizenship and Immigration
Services; MARK J. HAZUDA, Director of
the Nebraska Service Center, U.S. Citizenship
and Immigration Services,

                      Defendants.


         IT IS STIPULATED AND AGREED, by and between the parties, as follows:

         1.    This matter is dismissed with prejudice, except nothing in this order shall

preclude plaintiff Ganga Mantena from applying for any fees or costs under the Equal Access to

Justice Act or any other grounds upon which she claims to be entitled, or waive any of

defendants’ grounds for opposing such an application.

          2.   Within 14 days of the date of entry of this order, United States Citizenship and

 Immigration Services (“USCIS”) shall vacate its prior revocation of the approval of the

 I-140 Immigrant Petition for Alien Worker obtained by Vision Systems Group, Inc. on

 plaintiff’s behalf and certify the petition to the Administrative Appeals Office (AAO). Should

 it issue another notice of intent to revoke the approval of the I-140 petition it shall do so in a

 manner consistent with the Second Circuit Court of Appeals’ opinion dated December 30,

 2015.




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                   3.      Within 14 days of the date of entry of this order, USCIS shall vacate its prior

            denial of, and shall reopen, plaintiff’s I-485 Application for Adjustment of Status to Lawful

            Permanent Resident. USCIS will not adjudicate the reopened I-485 application unless and until

            it either revokes the approval of the I-140 petition or a visa becomes available for the I-485

            application, whichever occurs first. USCIS will not deny plaintiff’s I-485 application on the

            ground that plaintiff has failed to maintain continuous lawful status since filing the I-485.

                   4.      USCIS shall notify plaintiff of its reopening of the I-485 application, at which

            time plaintiff shall be entitled to submit both an I-765 Application for Employment

            Authorization and an I-131 Application for Travel Document to USCIS. USCIS shall waive the

            filing fees for such applications. Within 30 days of the date of receipt of plaintiff’s I-765 and I-

            131 applications, USCIS shall approve those applications, provided that the security checks

            required for such applications do not bar approval. USCIS will not deny either application on

            the ground that plaintiff has failed to maintain lawful status.


                   Dated: New York, New York                              Dated: New York, New York
                   June 1, 2016                                           June 1, 2016

                                                                          PREET BHARARA
                                                                          United States Attorney for the
                                                                          Southern District of New York
                                                                          Attorney for Defendants

            By:     /s/ Michael E. Piston                          By:     /s/ Christopher Connolly
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                   Telephone: (646) 845-9895                              New York, New York 10007
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                   Attorney for Plaintiff                                 Facsimile: (212) 637-2786

The Clerk of Court is directed to close the motion at Docket No. 41 and close the case.

Dated: June 2, 2016
       New York, New York
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